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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 JACQUELINE STEVENS,                             )
                                                 )
                               Plaintiff,
                                                 )
                       v.                        )    No. 18 C 5391
                                                 )
 BROADCASTING BOARD OF                           )    Judge Rowland
 GOVERORS, et al.,                               )
                               Defendants.       )

           DEFENDANTS’ REPLY IN SUPPORT OF SUMMARY JUDGMENT

        Nothing in plaintiff Stevens’s response presents a reason to deny the defendants’ summary

judgment motion. The agencies conducted adequate searches and properly withheld certain

information that FOIA exempts from disclosure. Summary judgment should be granted.

                                             Argument

        Stevens complains that the agencies have not provided enough information, but the

undisputed facts show: (1) that the searches by USGAM, HHS, USCIS, and USAID were

adequate; and (2) that the withholdings by USAGM, HHS, USCIS, and ICE were proper.

I.      The Searches’ Adequacy

        Stevens says that USAGM, HHS, USCIS, and USAID have not sufficiently described their

“databases” and “search methods,” her theory being that the agencies’ declarations do not

adequately describe each agency’s “general file system” and do not provide “remotely reasonable

detail” about the scope and method of searching. Resp. at 3. References to “personal files,”

“shared drives,” and “email files,” Stevens says, do not satisfy an agency’s obligation to explain

what databases it maintains, how it selects the databases that it searches, and what types of

documents the databases contain. Id. at 5. The problem with this argument is that the court has

already found that the agencies’ searches were adequate with respect to their scope. Dkt. 72 at 15

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(“The scope of USAGM’s search was not unreasonable.”), 18 (“HHS’s search was reasonable”),

19 (“USCIS’s original declaration makes clear that all files reasonably likely to contain responsive

material were searched”) (quotation omitted), 22 (“[t]he scope of search outlined by the USAID’s

declaration is reasonable”); see also id. at 21 (granting summary judgment to USGS on its search’s

adequacy), 25 (granting summary judgment to ICE on its search’s adequacy).

       What the court found lacking when it partially denied the agencies’ 2020 motion for

summary judgment was not the scope of the agencies’ searches, but certain aspects of the process.

Specifically, the court found: (1) that USAGM should have listed the search terms it employed

(Dkt. 72 at 15-16); (2) that HHS should have explained how it determined it did not have a contract

with David Senn (id. at 16); (3) that HHS should have explained how it determined it did not

receive invoices from Southwest Key (id. at 17); (4) that HHS should have identified the search

terms relating to age assessment it used (id.); (5) that USCIS should have used search terms “NU”

and “NWU” in addition to “Northwestern University” (id. at 20); and (6) that USAID should have

used search terms like “NWU” in addition to “Northwestern” (id. at 23). The agencies have now

adequately addressed those issues. Mem. (Dkt. 85) at 4-5, 6-10.

       A.      USAGM

       In response to the court’s ruling that USAGM should have listed the search terms it used

(Dkt. 72 at 15-16), USAGM has now explained that, although the employees who performed the

initial searches have since left USAGM, there is only one methodology they could possibly have

used: a search for D3 Systems’s vendor code within a search database called “Momentum” for

contracts from 2010 onward and in a corresponding database for contracts from before 2010.

DSOF ¶ 12. Bolstering that explanation is the fact that the same search conducted today produces

the same results. Id. USAGM has also explained that it later searched for contractual material

mentioning “D3” as a contracting party or “D3” systems and searched its emails using a variety of
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search terms: “BBG59-C-10-0104,” “BBG50-P-15-0859,” “BBG50-P-16-0599,” “D3 Systems,”

“Intermedia,” and the email address of USAGM’s contract manager for D3 Systems. Id. ¶ 15.

       Stevens responds that USAGM’s declaration described its search of a “Momentum”

database and “another system” without describing USAGM’s general recordkeeping system and

how those two systems fit within the system. Resp. at 4. Without that information, Stevens says,

the court cannot determine that it was reasonable for USAGM not to search other locations. Id.

But again, the court has already found that USAGM’s search was adequate with respect to scope.

Dkt. 72 at 15 (“The scope of USAGM’s search was not unreasonable.”).

       Stevens also says that the search USAGM conducted after her administrative appeal was

deficient because, even though the search yielded 1,487 additional pages, USAGM a few years

later found 65 more pages. Resp. at 4. But as this court has already observed, summary judgment

“turns on the search process employed, not the number of documents produced.” Dkt. 72 at 16;

see also Ancient Coin Collectors Guild v. Dep’t of State, 614 F.3d 504, 514 (D.C. Cir. 2011)

(search is gauged “not by the fruits of the search, but by the appropriateness of the methods used

to carry out the search”); Weisberg v. DOJ, 745 F.2d 1476, 1485 (D.C. Cir. 1984) (issue “is not

whether there might exist any other documents possibly responsive to the request, but rather

whether the search for those documents was adequate”).

       Stevens also criticizes USAGM for using expanded search terms in the 2021 search and

for searching in an unidentified location. Resp. at 4. But USAGM undertook that additional search

voluntarily, after already having met its FOIA obligations. She also criticizes USAGM for not

searching for “system records, reports, draft reports, and notes.” Id. But USAGM has explained

that it searched for all contractual material mentioning D3 Systems. DSOF ¶ 14.

       B.      HHS

       In response to the court’s ruling that HHS should have (1) explained how it determined it
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did not have a contract with David Senn (Dkt. 72 at 16), (2) explained how it determined it did not

receive invoices from Southwest Key (id. at 17), and (3) identified the search terms relating to age

assessment it used (id.), HHS has now complied with the ruling.

       First, HHS has now explained that it determined it did not have a contract with David Senn

by searching its Program Support Center’s network drive for “David Senn,” “Senn,” and

“Professor Senn,” a search that returned no records indicating the existence of any contract relating

to Senn, and by confirming with James De La Cruz, the senior supervisor of HHS’s refugee

resettlement office, that the office had no contractual relationship with Senn. DSOF ¶ 26.

       Second, HHS has explained that it determined it did not receive invoices from Southwest

Key: (1) by consulting with Government Information Specialist Glenn Voelker, who advised that

any invoices would be maintained by HHS’s Administration for Children and Families, or ACF;

(2) by consulting with Mata Sebgoya, a policy analyst in the refugee resettlement office’s policy

division, who advised that Southwest Key would not have been required to submit invoices

regarding expenditures for age assessments to ACF; and (3) by consulting with Senior Grants

Management Specialist Bernard Morgan, who confirmed that ACF does not receive or collect

invoices from grantees like Southwest Key as a standard practice and that no invoices were

received or collected from Southwest Key. DSOF ¶ 29.

       Third, HHS has now explained that it used the search terms: (1) “age assessment” or “age

assessments”; and (2) “age” and assess* and “practice” or “protocol” or “policy” (which would

have located any email containing the word “age,” the root word “assess,” and any of the words

“practice,” “protocol,” or “policy”). DSOF ¶ 27.

       In response, Stevens says that HHS has not explained its “recordkeeping practices” or the

“system of records” that it uses. Resp. at 4. And she criticizes HHS for not providing “details”

regarding “where emails are stored” or “where written paper correspondence is kept.” Id. at 5.
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But again, the court has already found that the scope of HHS’s search was reasonable. Dkt. 72 at

16 (“HHS’s search was reasonable”).

       Stevens also says that HHS has declared “in a conclusory fashion” that no documents

indicated the existence of a contractual relationship between HHS and Senn without providing

details on how it made the determination. Resp. at 4. And elsewhere, Stevens says that HHS has

provided “no information” on how it determined that it does not have a contract with Senn. Id. at

7. But that was the problem with HHS’s declaration the last time. Dkt. 72 at 16-17. As mentioned

above, this time HHS has rectified the omission by explaining in detail how it reached that

conclusion. Mem. at 5-6; DSOF ¶ 26.

       Stevens also criticizes HHS for declaring that it searched its “PSC network drive” without

providing further detail. Resp. at 4-5. The court can take judicial notice that HHS’s Program

Support Center—or PSC—handles HHS’s financial management, accounting, acquisition

management, grants management, and supply chain management. https://www.hhs.gov/about

/agencies/asa/psc/index.html. And HHS explained that it searched the Center’s entire network

drive using the search terms “David Senn,” “Senn,” and “Professor Senn.” DSOF ¶ 26.

        Stevens also says that HHS has not provided enough detail on how its employee Mata

Sebgoya determined that the refugee resettlement office did not enter into a contract with Senn.

Resp. at 5. But HHS explained that Sebgoya personally spoke with the senior supervisor of the

refugee resettlement office’s field specialists (James De La Cruz), and with the project officers

responsible for the Southwest Key contract, all of whom confirmed that the refugee resettlement

office did not enter into contracts with medical service providers. Def. Resp. to PSOAF ¶ 9.

Stevens counters that Senn was not a “medical provider” for HHS and instead conducts “forensic

investigation at the request of ICE.” Resp. at 5. But if Senn contracts with ICE, then there is no

reason to think that he would contract with HHS.
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       Stevens insists that HHS has not identified “the process” that its employees used to

determine that it did not have a contract with Senn. Resp. at 7. Once again, HHS has explained

this in detail: Sebgoya spoke personally with the supervisor of the refugee resettlement office’s

field specialists, along with the project officers responsible for the Southwest Key contract, and all

of them confirmed that the refugee resettlement office did not enter into contracts with Southwest

Key. Def. Resp. to PSAOF ¶ 9. And on top of that, information specialist Garfield Daley searched

HHS’s Program Support Center network drive for “David Senn” and “Senn” and “Professor Senn”

and found nothing indicating the existence of a contract with Senn. Id.

       Finally, Stevens says that Senn told her that HHS’s refugee resettlement office was paying

his university for his services, and she says it would “defy credulity” to think that HHS could be

paying for Senn’s services without having a contract with him. Resp. at 7. But even if Senn told

Stevens that HHS pays his university for some type of service, then that on its face explains why

HHS would not have a contract with Senn.

       C.      USCIS

       In response to the court’s ruling that USCIS should have used search terms “NU” and

“NWU” in addition to “Northwestern University” (Dkt. 72 at 20), USCIS rectified that omission.

DSOF ¶¶ 35-38. Stevens responds the USCIS’s declaration searched four databases without

explaining “the system of records maintained by USCIS in general,” which prevents the court from

conducting a “meaningful review” of whether these four databases “were reasonably likely to

contain responsive records.” Resp. at 5. But the four databases USCIS searched are the same

databases it searched the first time. Compare Dkt. 56 (2020 DSOF) ¶ 28 (describing search of

databases known as AVANT, CRM, SAS, and WebHQ) with Dkt. 86 (2022 DSOF) ¶ 37

(describing search of same databases). Again, the court has already found that the scope of

USCIS’s search was adequate. Dkt. 72 at 19 (“USCIS’s original declaration makes clear that all
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files reasonably likely to contain responsive material were searched”) (quotation omitted). The

only issue was the omission of certain search terms from the search that USCIS conducted—an

omission that has now been rectified. DSOF ¶¶ 35-38.

       D.      USAID

       In response to the court’s ruling that USAID should have used search terms like “NWU”

in addition to “Northwestern” (Dkt. 72 at 23), USAID rectified the omission where it could and

explained why it was not able to do so where it could not. DSOF ¶¶ 49-58. USAID’s Mission in

Pakistan and Bureau for the Middle East were both able to run the searches: the Mission in Pakistan

searched its Office of Education’s Google Docs folder using the terms “NWU” and “NU,” and the

Bureau for the Middle East searched its Google drive and the shared network drive of its

predecessor bureau using the terms “NWU” and “NU.” Id. ¶¶ 56-57. USAID’s Mission in West

Bank and Gaza could not run the additional searches due to its IT specialist’s grave concerns about

potentially crashing the network and not being able to recover it. Id. ¶ 53. And USAID could not

search its entire Gmail Vault using the additional terms because of the overwhelming volume of

hits and the unfeasibility of sampling the records to review only some of them. Id. ¶¶ 50-54.

       Stevens responds that USAID has “disingenuously” stated that it cannot run a sample on

the universe of records containing the term “Northwestern” (which returned 1,486,618 hits),

without explaining why it cannot run a sample on the universe of records containing the term

“NWU” (which returned 30,747 hits). Resp. at 8. In fact, although USAID used “Northwestern”

as an example, its feasibility estimate was not based only on “Northwestern”: USAID explained

that generating a random sample of 96 items from each of the three massive sets of records (the

hits for “NWU,” “NU,” and “Northwestern”) would take between 7 and 42 days for each. DSOF

¶¶ 50, 53.

       Stevens also criticizes USAID for not explaining why the “NU” search could not be
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completed by adding a “restrictive term corresponding to the requested documents.” Resp. at 8.

But Stevens’s FOIA request did not ask USAID to search for records containing the term “NU.”

DSOF ¶ 47. It asked USAID to search for records relating to contracts or emails with Northwestern

University. Id. In finding USAID’s search partially inadequate, the court directed USAID either

to search for “NU” in addition to “Northwestern University” or to explain why it cannot. Dkt. 72

at 20 (“There may be a good structural reason why only ‘Northwestern University’ was used [by

USCIS] as a search term, but the declaration and government briefing do not provide it, and the

Court will not speculate.”), 23 (“For the same reasons as discussed with USCIS, [USAID’s] search

is insufficient as it omits other common terms for the school like NWU.”). USAID has now

explained why it cannot perform the additional searches. DSOF ¶¶ 50-54.

         Stevens also questions the Mission in the West Bank and Gaza’s concerns that running the

more expansive searches would crash its network. Resp. at 8. She says that it is “not apparent”

why searching for “NWU” would crash the system but searching for “Northwestern” would not.

Id. And she points out that the Mission in Pakistan was able to search for “NWU.” Id. First, the

fact that a different mission was able to conduct the search has no bearing on whether the Mission

in West Bank and Gaza was able to. They are different missions with different servers. Def. Resp.

to PSOAF ¶ 23. And second, while it should be obvious on its face why an IT specialist might be

concerned about crashing his network, in this particular instance the Mission was particularly

concerned because its main server was down and it was relying on its backup server. Id.

II.      FOIA Standard

         Everything above shows that the agencies’ searches were adequate and that Stevens’s

quibbles with the agencies’ declarations are baseless. But Stevens offers an additional, general

argument against summary judgment, which amounts to a grievance about the way FOIA litigation

operates. She complains that accepting an agency’s assertions “at face value” while requiring a
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requestor “to produce specific evidence” would be in “sharp tension” with FOIA’s “general

presumption in favor of disclosure” and with the government’s “burden of proof.” Resp. at 6. She

cites authority for the proposition that FOIA should be narrowly construed to favor disclosure, and

she says the “presumption in favor of disclosure” is undercut if the court presumes good faith in a

“self-serving declaration” by a “single FOIA official far removed from the actual search process.”

Id. at 7. Applying deference, she says, “prevents” the court from “weighing evidence and assessing

credibility,” she says. Id.

       The Seventh Circuit has already rejected these arguments. In Stevens v. State, 20 F.4th 337

(7th Cir. 2021), Stevens presented the same argument against the “presumption of good faith that

agencies enjoy in FOIA litigation.” Id. at 342. The court held that “that rule is well settled,” and

that “there are good reasons for this approach.” Id. (“Administrative regularity is the baseline

assumption throughout our law, FOIA included.”). Likewise, it is proper for an agency to submit

a declaration from one individual who supervised the search process. Hall v. CIA, 881 F.Supp.2d

38, 64 (D.D.C. 2012).

       Stevens also says that the agencies have ignored their obligations to construe her requests

liberally and interpret her requests in a manner that would likely yield the greatest number of

responsive records by narrowing the scope of their searches. Resp. at 8-9. But Stevens does not

even attempt to explain how the agencies improperly construed her requests; the reader of her

memorandum is left to guess what violations she is talking about. And regardless, even if her

theory were discernable, as explained the court has already found that the scope of the agencies’

searches was reasonable.

III.   Proper Withholdings

       The agencies’ opening memorandum explained that they properly withheld various

information protected from disclosure by one or more FOIA exemptions. Mem. at 10-15.
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       A.      Exemption 4

       Exemption 4 covers two broad categories: (1) trade secrets; and (2) information that is (a)

commercial or financial, (b) obtained from a person, and (c) privileged or confidential. Mem. at

11. Under Exemption 4, USAGM withheld 14 proprietary surveys and redacted information from

emails that included proprietary or confidential pricing information. DSOF ¶¶ 16-21. USCIS also

redacted information under Exemption 4, including price quotes from a contractor. Id. ¶¶ 41, 44.

       Stevens says that USAGM and USCIS did not provide enough information for the court to

find that the information was “commercial.” Resp. at 9-11. But both agencies plainly did so.

USAGM has explained that it contracts with third parties to use their proprietary surveys, which it

withheld. DSOF ¶ 17. And USCIS redacted price quotes from its contractor. Id. ¶ 44. What

could be more “commercial” than that is hard to imagine.

       B.      Exemption 5

       Exemption 5 protects information that would be protected by the attorney-client, attorney

work-product, and deliberative-process privileges. Mem. at 12. ICE withheld information under

all three privileges.   DSOF ¶¶ 62-68.        Stevens says that Exemption 5 applies only to

“memorandums or letters,” not to records that are not memoranda or letters. Resp. at 11. No court

has interpreted Exemption 5 in such a limited manner, and the case Stevens cites, Rojas v. FAA,

927 F.3d 1046 (9th Cir. 2019), does not stand for that proposition, either. Far from having anything

to say about emails, Rojas addresses whether communications with third-party consultants can

constitute “intra-agency” communications under Exemption 5. Id. at 1055. Indeed, the Rojas

court seems to have presumed that Exemption 5 applies to records beyond memoranda and letters,

writing: “By its plain terms, Exemption 5 applies only to records that the government creates and

retains.” Id. (emphasis added). Other courts have done the same. Carlborg v. Navy, 2020 U.S.

Dist. LEXIS 142543, *23-24, 2020 WL 3583270 (D.D.C. Au. 10, 2020) (“Because these emails
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were both ‘predecisional’ and ‘deliberative,’ the Navy properly invoked FOIA Exemption 5 to

withhold them.”); Energy & Env’t Legal Inst. v. FERC, 72 F.Supp.3d 241, 246 (D.D.C. 2014)

(“FERC’s redactions from the Bay-Pederson emails are justified by Exemption 5.”) (emphasis

added).

          Moreover, on en banc review, the Ninth Circuit in Rojas clarified that, despite the “most

natural meaning” of the phrase, “we think context and purpose suggest that Congress had in mind

a somewhat broader understanding of ‘intra-agency.’” 989 F.3d 666, 672-73 (9th Cir. 2021). The

court noted that, on the plaintiff’s reading of Exemption 5, communications between an agency

and outside counsel would be subject to public disclosure under FOIA, an outcome that “seems

doubtful.” Id. at 674. The analogy holds here: it is doubtful that Congress would intend a

privileged communication to be subject to public disclosure simply because it takes the form of an

email rather than a memorandum or letter.

          Stevens also says that the deliberative process privilege protects only records that are pre-

decisional and deliberative, not just one or the other, and she says the information ICE redacted

was not pre-decisional, because it does not “pertain to the formation or adoption of an official

agency policy and do not pertain to any agency adjudication.” Resp. at 11-12. She says the

withheld communications “appear to be ordinary intra-agency correspondence divorced from any

deliberative process.” Id. at 12. But ICE has explained that the communications were pre-

decisional: for example, ICE redacted information in a draft titled “Request for Proposal –

Questions and Answers,” which contains unanswered questions, suggestions of who could address

the questions, draft answers and edits, and internal questions. DSOF ¶ 64. This is a classic

example of what the deliberative-process privilege protects. In re Apollo Grp., 251 F.R.D. 12, 31

(D.D.C. 2008) (drafts “by their very nature” are “typically predecisional and deliberative” because

they reflect “tentative” views “that might be altered or rejected upon further deliberation”).
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Stevens insists that, even if a withheld document was a not-yet-final draft, that fact does not

automatically exempt it from disclosure, and ICE has not shown that the communications are

sufficiently “bound up with” its policy mission. Resp. at 13. But as explained, considerable

deference is given to an agency’s judgment about what constitutes the give-and-take of deliberative

process, because an agency is best situated “to know what confidentiality is needed ‘to prevent the

injury to the quality of agency decisions.’” Chem. Mfrs. Ass’n v. CPSC, 600 F.Supp. 114, 118

(D.D.C 1984) (quotation omitted).

       Stevens also says that Exemption 5 does not protect a communication from disclosure “[t]o

the extent that” it occurred after the announcement of a final decision. Resp. at 12. But she does

not identify any instance of such a communication.

       Stevens also says that ICE’s invocation of the attorney-client privilege is misplaced

because (1) rendering or receiving legal advice is not the primary purpose of the withheld

communications and (2) the communications were not kept confidential. Resp. at 12. She cites

nothing for the proposition that the withheld information’s purpose was not the rendering or receipt

of legal advice or for the proposition that the communications were not kept confidential. Id.

Instead, she argues that the descriptions in ICE’s Vaughn index “are too vague.” Id. But a glance

at ICE’s Vaughn index shows that it redacted attorney’s opinions about ongoing litigation. DSOF

¶ 66. Stevens says it “is obvious” that the redacted information consists of “factual narratives”

and “messaging communications.” Resp. at 12. But her basis for saying that is left for the reader

to guess. Resp. at 12-13.

       Stevens also criticizes ICE for voluntarily un-redacting certain material. Resp. at 13. But

an agency can hardly be faulted for voluntarily choosing to produce additional records beyond

what FOIA might require.

       Finally, Stevens criticizes USAGM for not describing the 133 pages withheld under
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Exemption 5. Resp. at 4 (citing PSOAF ¶ 4). And she is correct that USAGM did withhold three

documents totaling 133 pages under Exemption 5 and inadvertently omitted them from its Vaughn

index. Resp. to PSAOF ¶ 4. USAGM has now corrected the omission in a supplementary

declaration, which explains the justification for the withholding. Id. The first document is a draft

interview questionnaire, the second document presents qualitative research using proprietary

methodology, and the third document is a proprietary study. Id. Although USAGM cited

Exemption 5 as the basis for withholding the documents, Exemption 4 also applies, because release

of the documents would reveal the methodology of USAGM’s proprietary research into audience

interests, its targeted audience demographic, and effective methods to capture and increase that

audience. Id. USAGM pays large amounts of money for this information, and releasing the

information into the public realm would hand that information to USAGM’s competitors. Id. This

would harm USAGM, as USAGM’s mission would be more difficult if Russian and Chinese media

competitors were to possess USAGM’s methodology and internal audience demographic

information. Id. In that instance, more tax dollars would be required to counteract the actions of

those competitors, because foreign media outlets would use USAGM’s strategic methods to make

its outreach less effective. Id.

        C.      Exemption 6

        Exemption 6 protects information when its release would be a “clearly unwarranted

invasion of personal privacy.” Mem. at 14. USAGM redacted phone numbers, names of

subordinate agency personnel, and names and email addresses of individual third-party contractor

personnel, and HHS redacted the names and titles of various employees. DSOF ¶¶ 19-20, 32.

        Stevens says that the domain names of email addresses do not deserve privacy protection.

Resp. at 14. But she does not cite a single instance in which the domain name of an email address

was actually redacted.
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       Stevens also says that that the names and titles of federal employees not employed in law

enforcement are considered public information by regulation. Resp. at 14. But no one has argued

that a given employee’s name and title are not public information. What HHS argued is that

revealing which employee sent which email would allow the employees to be identified. DSOF ¶

32. And HHS redacted its employees’ titles as well as their names, because leaving the titles would

still allow the authors of individual emails to be identified by simple Google searches. Id.

       Finally, although Stevens criticizes ICE’s Exemption 6 withholdings, she has waived this

by previously agreeing through counsel that the agencies need not include straightforward

Exemption 6 redactions on their Vaughn indices. Def. Ex. K (Mar. 11, 2022 email chain) (Defense

counsel: “Here’s my understanding of where things stand in the BBG case. . . . I think we agree

that the agencies need not Vaughn b6 redactions for names of non-citizens and low-level

employees, dates of birth, first halves of emails, A numbers, and phone numbers.” Plaintiff’s

counsel: “Sounds right.”).

       D.      Segregation

       Stevens argues that the agencies have not shown that the withheld material did not contain

non-exempt material that could have been segregated and released. Resp. at 15-16. But in

USAGM’s case, USAGM redacted the entirety of the surveys precisely because they were

proprietary in their entirety. DSOF ¶¶ 16-18. And from its email production, USAGM redacted

things like “phone numbers,” “names,” and “pricing.” DSOF ¶¶ 19-23. That USAGM segregated

and produced any non-exempt material is shown by the limited information that it did redact.

       Similarly, HHS redacted the names and titles of its employees, cell phone numbers, and

the identities and personal information of unaccompanied minors. DSOF ¶ 32; see also Def. Ex.

B (2020 Smith Decl.). That HHS segregated and produced any non-exempt material is shown by

the limited information that it did redact.
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       Regarding USCIS, the agency redacted “price quotes” and “information General Dynamics

provided regarding the quantities and prices of computer equipment that it would provide pursuant

to a particular contract.” DSOF ¶¶ 44-45. That USCIS segregated and produced any non-exempt

material is shown by the limited information that it did redact.

       With respect to USAID and USGS, Stevens previously agreed through counsel that the

Vaughn index that those agencies provided Stevens was adequate and would not be challenged.

Resp. to PSOAF ¶ 20 (citing email chain between counsel). (Indeed, Stevens does not even refer

to USGS in her entire response brief.)

       Finally, Stevens concedes that ICE has averred that it segregated and produced any non-

exempt material. Resp. at 17; see also Def. Ex. I (Schurkamp Decl.) ¶¶ 18-20 (averring that ICE

conducted a line-by-line review to identify information exempt from disclosure and that all

information not exempt from disclosure was segregated, with the non-exempt portions released).

                                            Conclusion

       For the reasons above, summary judgment should be granted in defendants’ favor.


                                              Respectfully submitted,

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